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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

                                                       )
  JOHN VICINO,                                         ) CIVIL ACTION NO.:
                                                       )
                  Plaintiff,                           )
                                                       )
  v.                                                   )
                                                       )
  BAY AREA CREDIT SERVICE LLC fka                      )
  TRUELOGIC FINANCIAL CORPORATION,                     )
  a California Limited Liability Company; LAW          )
  OFFICES OF MITCHELL N. KAY, P.C., a                  )
  New York Professional Corporation,                   )
                                                       )
                 Defendants.                           )
                                                       )

                                  COMPLAINT AND JURY DEMAND


                                            JURISDICTION

  1. Jurisdiction of this Court arises under 28 U.S.C. §1331, 15 U.S.C. §1692, and 15 U.S.C. §1681.

  2. This action arises out of the Defendants’ violations of the Fair Debt Collection Practices Act, 15

       U.S.C. §1692 et seq. (hereinafter the “FDCPA”) and Fair Credit Reporting Act, 15 U.S.C.

       §1681 et seq. (hereinafter the “FCRA”).

                                                 VENUE

  3. Venue is proper in this District because the acts and transactions occurred here, the Plaintiff

       resides here, and the Defendants transact business here.

                                                 PARTIES

  4. Plaintiff, John Vicino, is a natural person who resides in the City of Littleton, County of

       Arapahoe, State of Colorado.
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  5. The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §1692a(3) and 15 U.S.C.

     §1681a(a).

  6. Defendant, Bay Area Credit Service LLC, is a California Limited Liability Company formerly

     known as TrueLogic Financial Corporation operating from an address at 97 E. Brokaw Road

     suite 240, San Jose, CA 95112.

  7. Defendant, Law Offices of Mitchell N. Kay, P.C., is a New York Professional Corporation

     operating from an address at 7 Penn Plaza, New York, New York, 10116.

  8. The Defendants are “debt collectors” as the term is defined by 15 U.S.C. §1692a(6).

  9. The Defendants are “users” and “furnishers” of credit information as discussed in the FCRA.

  10. Defendants are licensed as collection agencies by the state of Colorado.

  11. The principal purpose of the Defendants is the collection of debts using mail and telephone, and

     the Defendants regularly attempt to collect debts alleged to be due another.

                                    FACTUAL ALLEGATIONS

  12. Sometime before December 2006 the Plaintiff allegedly incurred a financial obligation that

     was primarily for personal, family or household purposes namely an amount due and owing

     on a personal account (hereinafter the “Account”).

  13. The Account is a “debt” as that term is defined by 15 U.S.C. §1692a(5).

  14. The Account went into default with the original creditor sometime in 1986.

  15. On or about June 16, 1986, the Plaintiff filed a Chapter 7 bankruptcy in the U.S. Bankruptcy

     Court, District of Colorado, case number 86 B 05316.

  16. The Plaintiff listed the Account as a debt owed under Schedule A-3 of his bankruptcy.
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  17. On or about December 19, 1986, the Plaintiff obtained a discharge of his debts, including the

     Account, through bankruptcy. (A true and correct copy of Plaintiff’s December 19, 1986

     bankruptcy discharge is attached hereto as Exhibit A and is incorporated herein by

     reference.)

  18. On information and belief, sometime after the Plaintiff had obtained a discharge of his debts

     in bankruptcy, the Account was assigned, placed or otherwise transferred to the Defendants

     for collection from the Plaintiff.

  19. On information and belief, Defendants bought and / or sold discharged “stat off” debt with

     the knowledge that Plaintiff had obtained a discharge through bankruptcy.

                                           DEFENDANTS

  20. In the year prior to the filing of the instant action the Plaintiff received telephone calls and

     mailings from representatives, employees, and / or agents of the Defendants who were

     attempting to collect the Account. These telephone calls and mailings each individually

     constituted a “communication” as defined by FDCPA §1692a(2). (True and correct copies of

     Bay Area Credit Service LLC fka TrueLogic Financial Corporation and the Law Offices of

     Mitchell N. Kay, P.C.’s communications are attached hereto as Exhibits B and C

     respectively, and are incorporated herein by reference.) (A true and correct transcription of

     the Law Offices of Mitchell N. Kay, P.C.’s February 28, 2008, telephonic communication is

     attached hereto as Exhibit D, and is incorporated herein by reference.)

  21. During the telephone calls and within the mailings, representatives, employees, and / or

     agents of the Defendants attempted to collect on the Account, notwithstanding the fact that

     the Account had been discharged through bankruptcy and that the amounts allegedly due
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     under the Account were in excess of 20 years in the past. These statements and actions

     constitute violations of the FDCPA including but not limited to §1692d preface, §1692e

     preface, e(2)(A), §1692f preface, and f(1).

  22. The statements and actions were undertaken by the Defendants and their representatives,

     employees and / or agents as part of a campaign of abusive and unlawful collection tactics

     directed at the Plaintiff.

  23. The Defendants and their representatives, employees and / or agents statements and actions

     constitute false and misleading representations and means and violate FDCPA §1692e

     preface, e(2)(A), and e(10).

  24. The Defendants and their representatives, employees and / or agents statements and actions

     constitute unfair or unconscionable means to collect or attempt to collect a debt and violate

     FDCPA §1692f preface, and f(1).

  25. The Defendants’ statements and actions as well as those of their representatives, employees

     and / or agents were attempts to frighten, harass and abuse the Plaintiff into paying his

     alleged debt.

  26. The Defendants statements and actions as well as those of their representatives, employees

     and / or agents were willful and intentional violations of the FDCPA.

  27. On information and belief, in the year prior to the filing of the instant action the Defendant

     Bay Area Credit Service LLC contacted various consumer reporting agencies and obtained

     Plaintiff’s credit reports in connection with its attempt to collect on the Account. Defendant

     Bay Area Credit Service LLC obtained said credit reports under false pretense and / or
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     knowingly without a permissible purpose enumerated in FCRA 1681b and / or negligently in

     violation of the FCRA as discussed in FCRA §§1681n(a) and 1681o(a).

  28. At the time Defendant Bay Area Credit Service LLC obtained Plaintiff’s credit reports,

     Defendant was well aware that the Account was in excess of 20 years old, and knew or should

     have known that Plaintiff had discharged the Account in his 1986 bankruptcy and that

     Defendant had no permissible purpose in obtaining Plaintiff’s credit report. (A true and correct

     copy of Plaintiff’s April 12, 2007 correspondence to TrueLogic Financial Corporation notifying

     of the bankruptcy discharge is attached hereto as Exhibit E, and is incorporated herein by

     reference.)

  29. As a consequence of the Defendants’ collection activities and communications, the Plaintiff

     has incurred actual damages.

                                    RESPONDEAT SUPERIOR

  30. The representatives and / or collectors at the Defendants were employees of and agents for

     the Defendants, were acting within the course and scope of their employment at the time of

     the incidents complained of herein and were under the direct supervision and control of the

     Defendants at all times mentioned herein.

  31. The actions of the representatives and / or collectors at the Defendants are imputed to their

     employer, the Defendants.

  32. As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered the

     aforementioned damages.

                                 COUNT I, FDCPA VIOLATIONS

  33. The previous paragraphs are incorporated into this Count as if set forth in full.
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  34. The acts and omissions of the Defendants and their representatives, employees and / or

     agents constitute numerous and multiple violations of the FDCPA, including but not limited

     to §1692e preface, e(2)(A), and e(10) and §1692f preface, and f(1).

  35. The Defendants’ violations are multiple, willful and intentional.

  36. Pursuant to FDCPA §1692k the Plaintiff is entitled to actual damages, statutory damages up

     to $1,000.00 per violation, reasonable attorney's fees and costs.

                                 COUNT II, FCRA VIOLATIONS

  37. The previous paragraphs are incorporated into this Count as if set forth in full.

  38. The acts and omissions of Defendant Bay Area Credit Service LLC and its representatives,

     employees and / or agents constitutes a violation of the FCRA, including but not limited to

     §1681b.

  39. Pursuant to FCRA §1681n(a) and FCRA §1681o(a) the Plaintiff is entitled to actual damages,

     statutory damages, punitive damages, reasonable attorney's fees and costs against Defendant

     Bay Area Credit Service LLC.

                                      JURY TRIAL DEMAND

  The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7., Fed. R. Civ.

  Pro. 38.

                                               PRAYER

  WHEREFORE, the Plaintiff prays that the Court grants the following:

  1. Actual damages under 15 U.S.C. §1692k(a)(1), 15 U.S.C. §1681n(a)(1)(A), and 15 U.S.C.

     §1681o(a)(1);

  2. Statutory damages under 15 U.S.C. §1692k(a)(2)(A) and 15 U.S.C. §1681n(a)(1)(B);
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  3. Punitive damages under 15 U.S.C. §1681n(2);

  4. Reasonable attorneys fees and costs pursuant to 15 U.S.C. §1692k(a)(3), 15 U.S.C.

     §1681n(a)(1)(B)(3) and 15 U.S.C. §1681o(a)(2);

  5. Such other and further relief as the Court deems just and proper.



     Dated: March 27, 2008                    Respectfully submitted,

                                              s/ Stephen E. Berken
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                                              Stephen S. Chang, Esq.
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